Case 1:23-cv-00822-ADA Document 27-22 Filed 12/22/22 Page 1 of 2




         Exhibit	  CC	  
                       Case 1:23-cv-00822-ADA Document 27-22 Filed 12/22/22 Page 2 of 2

                        Sony Interactive Entertainment to Phillip Burton Federal Building and U.S. Courthouse          Drive 20.9 miles, 26 min




                                                                                                                Map data ©2022 Google   2 mi



        via US-101 N                                  26 min
        Fastest route now due to traffic            20.9 miles
        conditions

        via I-280 N and US-101 N                      30 min
                                                    25.6 miles




Explore Phillip Burton Federal Building and U.S.
Courthouse




Restaurants   Hotels    Gas stations Parking Lots     More
